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6
7                     IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,                ) CR S 11-295 MCE
                                              )
10           Plaintiff,                       ) STIPULATION AND ORDER
                                              ) CONTINUING SENTENCING
11      v.                                    )
                                              ) June 14, 2012 before
12   RICHARD VARGAS, et al                    ) Judge England
             Defendants                       )
13   ______________________________           )
14
15   This matter is now set for Sentencing on April 5, 2012.            Because
16   the parties need more time to complete the negotiations which may
17   affect the Government sentence recommendation, the parties
18   STIPULATE the present date be vacated and the case continued until
19   June 14, 2012 and request the Court so order.
20   Dated March 30, 2012
21   Respectfully submitted,
22
23 /s/DANIEL MC CONKIE                            /s/ J TONEY
24 Daniel McConkie                                 J Toney
25 Assistant U.S. Attorney                         Attorney for Richard Vargas
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28                                        1
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1 IT IS SO ORDERED.
2
     Dated: April 3, 2012
3
4                                       _____________________________
                                        MORRISON C. ENGLAND, JR.
5
                                        UNITED STATES DISTRICT JUDGE
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